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11                     IN THE UNITED STATES DISTRICT COURT FOR THE
12                            EASTERN DISTRICT OF CALIFORNIA
13
14
15   UNITED STATES OF AMERICA,                     ) Case No.: 1:09-cr-00369 AWI
16                                                 )
17                                                 )
                           Plaintiff,              ) STIPULATION REGARDING
18          vs.                                    ) SENTENCING
19                                                 )
20   MICHAEL HO,                                   )
21                                                 )
                           Defendant.              )
22                                                 )
23
24          IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
25
26   defendant MICHAEL HO, and Kathleen Servatius, Assistant United States Attorney, that the
27
28   sentencing be continued from October 4, 2010, at 9:00 a.m., to December 6, 2010, at 9:00 a.m.

     Dated: September 29, 2010                          /s/ Kathleen Servatius
                                                        Kathleen Servatius
                                                        Assistant U.S. Attorney


     Dated: September 29, 2010                          /s/ Jeffrey T. Hammerschmidt
                                                        Jeffrey T. Hammerschmidt
                                                        Attorney for Defendant,
                                                        Michael Ho


     IT IS SO ORDERED.

     Dated:           September 29, 2010
     0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
